4:12-cr-03057-JMG-CRZ           Doc # 87   Filed: 05/08/13   Page 1 of 1 - Page ID # 240




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                      Plaintiffs,                              4:12CR3057
      vs.
                                                     MEMORANDUM AND ORDER
DIWANCHA SHONTALL BROWN,
                      Defendant.


       After affording the defendant an opportunity to confer with standby counsel, the
defendant states he does not want to withdraw his guilty plea and he is not requesting
new counsel. Defendant’s counsel, Clarence E. Mock, III, remains willing to represent
the defendant.

       Accordingly,

       IT IS ORDERED that the Motion to Withdraw as Attorney and for Appointment
of Substitute Counsel, (Filing No. 78), is denied.

       May 8, 2013.

                                                 BY THE COURT:
                                                 s/ Cheryl R. Zwart
                                                 United States Magistrate Judge
